                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION


UNITED STATES OF AMERICA                           Criminal No. 6:20-cr-00628-TMC

              V.
                                                   PLEA AGREEMENT
MATTHEW J. WARD, a/k/a "Bones"

                                     General Provisions


       This PLEA AGREEMENT is made this         ~?!. day of .::::fo_" w 4 ,2022, between the
United States of America, as represented by United States Attorney COREY F. ELLIS; Assistant

United States Attorney Justin W. Holloway; Chief, Organized Crime and Gang Section, DAVID

L. JAFFE; Trial Attorney Rebecca R. Dunnan; the Defendant, MATTHEW J. WARD, a/k/a

"Bones," and Defendant's attorney, Lawrence W. Crane, Esquire.

       IN CONSIDERATION of the mutual promises made herein, the parties agree as follows:

1.     The Defendant agrees to plead guilty to Counts 1, 18, and 148 of the Second Superseding

       Indictment now pending. Count 1 charges racketeer influenced and corrupt organizations

       (RICO) conspiracy, in violation of 18 U.S.C. §§ 1962(d) and 1963(a). Count 18 charges

       conspiracy to distribute and possess with intent to distribute at least 500 grams of a

       mixture or substance containing a detectable amount of methamphetamine and a quantity

       of heroin, in violation of 21 U.S.C. §§ 841(a)(l), 841(b)(l)(A), 841(b)(l)(C), and 846.

       Count 148 charges violent crime in aid of racketeering (VICAR)- attempted assault with

       a deadly weapon, in violation of 18 U.S.C. §§ 1959(a)(6) and 2.




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     In order to sustain its burden of proof, the Government is required to prove the following:

     Count 1 - RICO conspiracy in violation of 18 U.S.C. §§ 1962(d) and 1963(a)

     Title 18, United States Code, Section 1962(d) makes it a crime for any person to conspire
     to conduct the charged enterprise's affairs through a pattern of racketeering activity. In
     order to prove the Defendant's guilt, the government must prove the following elements
     beyond a reasonable doubt:

     A.     First, that an enterprise affecting interstate or foreign commerce existed;

     B.     Second, that the Defendant knowingly and intentionally agreed with another
            person to conduct or participate in the affairs of the enterprise;

     C.     Third, that the Defendant was a member or associate of the enterprise; and

     D.     Fourth, that the defendant knowingly and willfully agreed that he would commit
            at least two racketeering acts or some member of the conspiracy would commit at
            least two racketeering acts as part of a pattern of racketeering activity.

                  i. Here, the enterprise known as the Insane Gangster Disciples, or "IGD,"
                     through its members and associates, engaged in racketeering activity as
                     defined in Title 18, United States Code, Sections 1959(b)(l) and 1961(1),
                     namely, acts involving murder, robbery, arson, and kidnapping, in
                     violation of the laws of South Carolina; offenses involving dealing in
                     controlled substances, in violation of Title 21, United States Code,
                     Sections 841 and 846; and acts indictable under Title 18, United States
                     Code, Sections 1956 (relating to the laundering of monetary instruments),
                     1512 (relating to tampering with a witness, victim, or an informant), 1513
                     (relating to retaliating against a witness, victim, or an informant), and 894
                     (relating to extortionate credit transactions). These enumerated
                     racketeering acts include attempts and conspiracies to commit the offense.

      E.    In this Defendant's case, the racketeering activity reasonably foreseeable to the
            Defendant included, but is not limited to, the following:

                  i. Distribution or Possession with Intent to Distribute at least 500 grams of a
                     mixture or substance containing a detectable amount of
                     methamphetamine, in violation of 21 U.S.C. §§ 841(a)(l) and
                     841(b)(l)(A): under which the government must prove that (A) the
                     Defendant knowingly and intentionally possessed, or aided and abetted
                     another in possessing, at least 500 grams of a mixture or substance
                     containing a detectable amount of methamphetamine and (B) did so with
                     the intent to distribute the controlled substance.




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                   ii.        Conspiracy or attempt to commit drug trafficking, in violation of
                      21 U.S.C. § 846, under which the government must prove that: (A) the
                      Defendant attempted to violate 21 U.S.C. § 841 or that the Defendant
                      agreed with at least one other person to commit drug trafficking in
                      violation of 21 U.S.C. § 841; and (B) the Defendant did so knowingly and
                      intentionally.

                   111.      Collection of extensions of credit by extortionate means in
                     violation of 18 U.S.C. § 894, under which the government must prove that
                     (A) the Defendant knowingly participated in any way, conspired to do so,
                     or aided and abetted another, in the use of any extortionate means (B) to
                     collect or attempt to collect any extension of credit, or to punish any
                     person for not repaying an extension of credit.

                   iv.        Laundering of monetary instruments in violation of 18 U.S.C. §
                     1956, under which the government must prove that (A) the Defendant
                     conducted, attempted to conduct, or aided and abetted in the conducting
                     of, a financial transaction having at least a minimal effect on interstate
                     commerce or involving the use of a financial institution which is engaged
                     in, or the activities of which have at least a minimal effect on, interstate or
                     foreign commerce; (B) that the property that was the subject of the
                     transaction involved the proceeds of specified unlawful activity, in this
                     case, drug trafficking; (C) that the defendant knew that the property
                     involved represented the proceeds of some form of unlawful activity; and
                     (D) the Defendant engaged in the financial transaction with the intent to
                     promote the carrying on of specified unlawful activity.

      PENALTIES:

      Under the penalty provisions of 18 U.S .C. § 1963, whoever violates any provision of 18
      U.S.C. § 1962 shall face the following penalties:

      IMPRISONMENT for any number of years and up to Life
      FINE of $250,000 (or up to twice the gross profits or other proceeds obtained from the
            racketeering activity)
      TERM OF SUPERVISED RELEASE of up to 5 years
      SPECIAL ASSESSMENT of $100




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     Count 18 - Dru2 distribution conspiracy in violation of 21 U.S.C. §§ 841(a)(l),
     841(b)(l)(A), 841(b)(l)(C) and 846

     Title 21 , United States Code, Section 846 makes it a crime to conspire with someone else
     to commit a drug offense against the laws of the United States. A conspiracy is an
     agreement between two or more persons to join together to accomplish an unlawful
     purpose. It is a kind of partnership in crime in which each member becomes the agent of
     every other member. In order to prove the Defendant's guilt in this case, the government
     must prove the following elements beyond a reasonable doubt:

     A.     First, that there was an agreement between two or more persons to possess with
            the intent to distribute and/or distribute at least 500 grams of a mixture or
            substance containing a detectable amount of methamphetamine and a quantity of
            heroin;

     B.     Second, the Defendant knew of this agreement or conspiracy;

     C.     Third, the Defendant knowingly and voluntarily participated in or became a part
            of this agreement or conspiracy; and

     D.     Fourth, the Defendant either 1) personally distributed or possessed with the intent
            to distribute at least 500 grams of a mixture or substance containing a detectable
            amount of methamphetamine and a quantity of heroin, or 2) it was reasonably
            foreseeable to the Defendant that members of the conspiracy would be
            distributing or possessing with the intent to distribute at least 500 grams of a
            mixture or substance containing a detectable amount of methamphetamine and a
            quantity of heroin.

     The penalty for a violation of 21 U.S.C. § 841(b)(l)(A) is:

     IMPRISONMENT FOR 10 years - Life
     FINE OF $10,000,000
     TERM OF SUPERVISED RELEASE OF at least 5 years
     SPECIAL ASSESSMENT $100

     The penalty for a violation of 21 U.S.C. § 841(b)(l)(C) is:

     IMPRISONMENT FOR 0-20 years
     FINE OF $1,000.000
     TERM OF SUPERVISED RELEASE OF at least 3 years
     SPECIAL ASSESSMENT $100




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       Count 148 - VICAR attempted assault with a dangerous weapon in violation of 18
       U.S.C. §§ 1959(a)(6) and 2

      Title 18, United States Code, Section 1959 makes it a crime to commit certain violent
      crimes in connection with any enterprise engaged in racketeering activity. In order to
prove the Defendant's guilt, the government must prove the following elements beyond a
      reasonable doubt:
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       A.     First, that there was an enterprise;

       B.     Second, that the enterprise engaged in racketeering activity;

                      i. Relevant racketeering activity in this case includes acts involving murder,
                         robbery, arson, and kidnapping, in violation of the laws of South Carolina;
                         offenses involving dealing in controlled substances, in violation of Title
                         21, United States Code, Sections 841 and 846; and acts indictable under
                         Title 18, United States Code, Sections 1956 (relating to the laundering of
                         monetary instruments), 1512 (relating to tampering with a witness, victim,
                         or an informant), 1513 (relating to retaliating against a witness, victim, or
                         an informant), and/or 894 (relating to extortionate credit transactions);

       C.     Third, that the Defendant had a position in the enterprise;

       D.     Fourth, that the Defendant attempted to assault another person with a dangerous
              weapon, or aided and abetted another in doing so, in violation of S.C. Code Ann.
              § 16-3-600(C)(l)(b)(i), which states that it is unlawful for a person to offer or
              attempt to injure another person with the present ability to do so and the act is
              accomplished by means likely to produce death or great bodily injury (defmed as
              bodily injury which causes a substantial risk of death or which causes serious,
              permanent disfigurement or protracted loss or impairment of the function of a
              bodily member or organ); and

       E.     Fifth, the Defendant's general purpose in committing the alleged crime was to
              maintain or increase his position in the enterprise.

       PENALTIES:

       IMPRISONMENT for 0-3 years
       FINE of$ 250,000
       TERM OF SUPERVISED RELEASE of 1 year
       SPECIAL ASSESSMENT of $ 100



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2.   Provided the Defendant complies with all the terms of this Agreement, the United States

     agrees to move to dismiss the remaining counts of the Second Superseding Indictment

     (and any other indictments under this number) at sentencing. The Defendant understands

     that the Court may consider these dismissed counts as relevant conduct pursuant to §

     I B 1.3 of the United States Sentencing Guidelines.

                               Merger and Other Provisions

3.   The Defendant represents to the Court that he has met with his attorney on a sufficient

     number of occasions and for a sufficient period of time to discuss the Defendant's case

     and receive advice; that the Defendant has been truthful with his attorney and related all

     information of which the Defendant is aware pertaining to the case; that the Defendant

     and his attorney have discussed possible defenses, if any, to the charges in the Second

     Superseding Indictment including the existence of any exculpatory or favorable evidence

     or witnesses, discussed the Defendant's right to a public trial by jury or by the Court, the

     right to the assistance of counsel throughout the proceedings, the right to call witnesses in

     the Defendant's behalf and compel their attendance at trial by subpoena, the right to

     confront and cross-examine the Government's witnesses, the Defendant's right to testify

     in his own behalf, or to remain silent and have no adverse inferences drawn from his

     silence; and that the Defendant, with the advice of counsel, has weighed the relative

     benefits of a trial by jury or by the Court versus a plea of guilty pursuant to this

     Agreement, and has entered this Agreement as a matter of the Defendant's free and

      voluntary choice, and not as a result of pressure or intimidation by any person.




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4.       The Defendant is aware that 18 U.S.C. § 3742 and 28 U.S.C. § 2255 afford every

         defendant certain rights to contest a conviction and/or sentence. Acknowledging those

         rights, the Defendant, in exchange for the concessions made by the Government in this

         Plea Agreement, waives the right to contest either the conviction or the sentence in any

         direct appeal or other post-conviction action, including any proceedings under 28 U.S.C.

         § 2255.   This waiver does not apply to claims of ineffective assistance of counsel,

         prosecutorial misconduct, or future changes in the law that affect the defendant's

         sentence. This agreement does not affect the rights or obligations of the Government as

         set forth in 18 U.S.C. § 3742(b). Nor does it limit the Government in its comments in or

         responses to any post-sentencing matters.

5.       The parties hereby agree that this Plea Agreement contains the entire agreement of the

         parties; that this Agreement supersedes all prior promises, representations and statements

         of the parties; that this Agreement shall not be binding on any party until the Defendant

         tenders a plea of guilty to the court having jurisdiction over this matter; that this

         Agreement may be modified only in writing signed by all parties; and that any and all

         other promises, representations and statements, whether made prior to, contemporaneous

         with or after this Agreement, are null and void.




                              (signature blocks on the following page)




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       Date
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                     Matthew J. Ward, a/k/a "Bones
                     Defendant

                     ~w ~~
       Date          Lawrence W. Crane, Esquire
                     Defense Attorney


                     COREY F. ELLIS
                     UNITED STATES ATTORNEY


       Date          Justin     way (Fed. ID# 11684)
                     Assistant United States Attorney

                     DAVID L. JAFFE
                     CHIEF, ORGANIZED CRIME AND GANG
                     SECTION

                     Isl Rebecca Dunnan
       Date          Rebecca Durman
                     Trial Attorney
                     Organized Crime and Gang Section
                     United States Department of Justice




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